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FFL§HJ

 

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,

Plaintiff,

TT
v.

ARMAN GRIGORYAN,
LIANNA OVSEPIAN,
aka “Lili,”
KENNETH WAYNE JOHNSON,
NURISTA GRIGORYAN,
aka “Nora,”
PHIC LIM,
aka “PK,”
ARTAK OVSEPIAN,
EDGAR HOVANNISYAN,
ARTUR HARUTYUNYAN,
SAMVEL TAMAZYAN,
MIKAYEL GHUKASYAN,
ARTYOM YEGHIAZARYAN,
THEANA KHOU,
NUNE OVSEPYAN,
LISA DANIELLE MENDEZ,
aka “Danielle,”
ANTHONY GLEN JONES,
DAVID SMITH,
` aka “Green Eyes,”
VINCENT VO,
aka “Minh,” and
RICHARD BOND WASHINGTON,

Defendants.

 

 

§ 1349: Conspiracy

[18 U.S.C.
to Commit Health Care Fraud; 18

U.S.C. § 1028(f): Conspiracy to
Possess at Least Five
Identification Documents and
Authentication Features With
Intent to Use Unlawfully;

18 U.S.C. § 1028(a)(3): l
Possession of at Least Five
Identification Documents and
Authentication Features With
Intent to Use Unlawfully; 18
U.S.C. § 1028A: Aggravated
Identity Theft; 18 U.S.C.

§ 371: Conspiracy to Engage in
the Misbranding cf Prescription
Drugs; 18 U.S.C. § 1956(h):
Conspiracy to Engage in
Transactions in Criminally
Derived Proceeds; 18 U.S.C.

§ 1956: Money Laundering; 18
U.S.C. § 1957: Engaging in
Transactions in Criminally
Derived Proceeds; 31 U.S.C.

§ 5324(a)(3): Structuring; 18
U.S.C. § 1001(a)(2): FalSe
Statement to a Federal Officer;
18 U.S.C. § 2: Aiding and
Abetting and Causing an Act to
Be Done]

 

 

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The Grand Jury charges:
GENERAL ALLEGATIONS

At all times relevant to this Indictment:

The Defendants and Manor Medical

1. Defendants ARMAN GRIGORYAN, LIANNA OVSEPIAN, also known7
as (“aka”) “Lili,”_NURISTA GRIGORYAN, aka “Nora,” and ARTAK
OVSEPIAN operated a business known as Manor Medical Imaging, Inc.
(“Manor”), located in Glendale, California, within the Central
District of California.

2. Manor functioned as a “prescription mill” that
generated thousands of prescriptions for expensive anti-psychotic
medications (“Ps"ch Meds”), name y, Abilify, Seroquel, and
Zyprexa, which Manor's “patients” did not in fact need. Those
prescriptions (the “Manor Prescriptions”) were made to appear to
be signed and issued by defendant KENNETH WAYNE JOHNSON
(“JOHNSON”), a medical doctor, when in fact defendant JOHNSON did
not issue or lawfully authorize the Manor Prescriptions, nor did
defendant JOHNSON examine Manor’s “patients.” Instead, defendant
JOHNSON allowed other Manor employees, primarily defendant
NURISTA GRIGORYAN, to falsely pose as physicians and physician’s
assistants and to issue the Manor Prescriptions using defendant
JOHNSON’s name and Medi-Cal and Medicare billing information.

3. Patient recruiters, or “Cappers,” would bring
beneficiaries of Medicare and/or Medi-Cal (“the beneficiaries”)
to Manor. Cappers who recruited beneficiaries on behalf of Manor
included defendants LISA DANIELLE MENDEZ, aka “Danielle”

(“MENDEZ”), ANTHONY GLEN JONES (“JONES”), DAVID SMITH, aka “Green

 

 

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EyeS” (“SMITH”), VINCENT VO, aka “Minh” (“VO”), and RICHARD BOND
WASHINGTON (“WASHINGTON”).

4. Upon arriving at Manor, each of the beneficiaries, in
exchange for cash or other inducements, would receive Manor
Prescriptions for one Psych Med and at least one other drug.
After the Manor Prescriptions were provided to the beneficiaries,
“Drivers” employed by Manor would take the recruited
beneficiaries to pharmacies, where, under the supervision of the
Drivers, the beneficiaries filled their Manor Prescriptions. The
Drivers used by Manor included defendants ARTAK OVSEPIAN, who
served as manager of Manor’s Drivers, ARMAN GRIGORYAN, EDGAR
HOVANNISYAN (“HOVANNISYAN”), ARTUR HARUTYUNYAN (“HARUTYUNYAJ”),
MIKAYEL GHUKASYAN (“GHUKASYAN”), ARTYOM YEGHIAZARYAN
(“YEGHIAZARYAN”), and SAMVEL TAMAZYAN (“TAMAZYAN”), who was aided
and abetted by defendant NUNE OVSEPIAN.

5. After the Manor Prescriptions were filled, the Drivers
would take the Psych Meds from the beneficiaries and deliver
those medications to Manor.

6. Manor also generated Psych Med prescriptions, which
also were falsely made to appear to be written by defendant
JOHNSON, in the names of beneficiaries who never visited Manor
and whose identities were stolen. In these instances, using
falsified patient authorization forms, Manor employees would
either fax prescriptions to pharmacies or have the Drivers bring
prescriptions to pharmacies, The Drivers would then fill the
prescriptions, which included Psych Meds, and the Drivers would

then deliver the Psych Meds to Manor.

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7. The following pharmaciesy among others, filled Manor
Prescriptions: Huntington Pharmacy (“Huntington”), owned by
defendants PHIC LIM, aka “PK” (“LIM”) and THEANA KHOU (“KHOU”);
Pacific Grand Pharmacy ("Pacific Grand"); Adams Square Pharmacy
("Adams Square"); West Vern Pharmacy ("West Vern"); Garos
Pharmacy ("Garos"); Midway Drugs Pharmacy ("Midway Drugs"); and
Merced Medical Pharmacy ("Merced Medical") (collectively, “the
Pharmacies”).

8. As the defendants knew, the Pharmacies would bill
Medicare (via the beneficiaries’ prescription drug plans
(“PDPs”)) or Medi-Cal for each of the Manor Prescriptions.
Between in or about September 2009 and in or about October 2011,
the Pharmacies submitted no less than approximately $18,045,398
in claims to Medicare or Medi-Cal for at least 21,075 Manor
Prescriptions. Medicare and Medi-Cal actually paid the
Pharmacies a combined amount of approximately $7,291,419 for
14,705 of those claims, with Huntington alone receiving
approximately $2,220,016 of those payments.

9. Defendants LIM and KHOU maintained control over the
following financial accounts, into which they deposited and
through which they laundered proceeds derived from their
involvement in filling Manor Prescriptions: an East West bank
account ending in the numbers 7236 (“the East West Account”);
Chase Bank accounts ending in the numbers 0725 (“Chase Account
1”) and 8303 (“Chase Account 2”); a HSBC account ending in the
numbers 0993 (“HSBC Account 1”), each held in the name “P.S.
Enterprise Inc. d/b/a Huntington Pharmacy”; a Chase Bank Account

ending in numbers 2674 (“Chase Account 3”); and a TD Ameritrade

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account ending in the numbers 9811 (the “TD Ameritrade Account”),
each held in the name “Phic K Lim & Theana S Khou Family Trust.”

The Medicare Program

10. Medicare was a federal health care benefit program,
affecting commerce, that provided benefits to persons who were
over the age of 65 or disabled. Medicare was administered by the
Centers for Medicare and Medicaid Services (“CMS”), a federal
agency under the United States Department of Health and Human
Services (“HHS”).

Medicare Part B

11. Medicare Part B covered, among other things, medically
necessary physician services and medically necessary outpatient
tests ordered by a physician.

12. Health care providers, including physicians and
clinics, could receive direct reimbursement from Medicare by
applying to Medicare and receiving a Medicare provider number,
To obtain payment for Part B services, an enrolled physician or
clinic, using its Medicare provider number, would submit claims
to Medicare, certifying that the information on the claim form
was truthful and accurate and that the services provided were
reasonable and necessary to the health of the Medicare
beneficiary.

Medicare Part D

13. Medicare Part D provided coverage for outpatient
prescription drugs through qualified private insurance plans
that receive reimbursement from Medicare. Beneficiaries enrolled
under Medicare Part B could obtain Part D benefits by enrolling
with any one of many qualified PDPs.

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14. To obtain payment for prescription drugs provided to
such Medicare beneficiaries, pharmacies would submit their claims
for payment to the beneficiary’s PDP. The beneficiary would be
responsible for any deductible or co-payment required under his
or her PDP.

15. Medicare PDPs commonly provided plan participants with
identification cards for use in obtaining prescription drugs.

The Medi-Cal Proqram

16. Medi~Cal was a health care benefit program, affecting
commerce, that provided reimbursement for medically necessary
health care services to indigent persons in California. Funding
for Medi-Cal was shared between the federal government and the
State of California.

l7. The California Department of Health Care Services
(“DHCS”) administered the Medi-Cal program. DHCS authorized
provider participation, determined beneficiary eligibility,
issued Medi-Cal cards to beneficiaries, and promulgated
regulations for the administration of the program.

18. Medi-Cal reimbursed physicians and other health care
providers for medically necessary treatment and services rendered
to Medi-Cal beneficiaries.

19. Health care providers, including doctors and
pharmacies, could receive direct reimbursement from Medi-Cal by
applying to Medi-Cal and receiving a Medi-Cal provider number.

20. To obtain payment for services, an enrolled provider,
using its unique provider number, would submit claims to Medi-Cal

certifying that the information on the claim form Was truthful

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and accurate and that the services provided were reasonable and

necessary to the health of the Medi~Cal beneficiary.

 

 

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COUNT ONE
[18 U.S.C. § 1349]
21. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 20 of this
Indictment as if set forth herein.

A. OBJECT OF THE CONSPIRACY

22. Beginning on a date unknown, and continuing through on
or about October 27, 2011, in Los Angeles County, within the
Central District of California, and elsewhere, defendants ARMAN
GRIGORYAN, LIANNA OVSEPIAN, JOHNSON, NURISTA GRIGORYAN, LIM,
ARTAK OVSEPIAN, HOVANNISYAN, HARUTYUNYAN, TAMAZYAN, GHUKASYAN,
YEGHIAZARYAN, KHOU, NUNE OVSEPYAN, MENDEZ, JONES, SMITH, VO, and
WASHINGTON, together with others known and unknown to the Grand
Jury, conspired and agreed with each other to knowingly and
intentionally commit health care fraud, in violation of Title 18,
United States Code, Section 1347.

B. MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

ACCOMPLISHED

23-30. The means by which the object of the conspiracy was
to be accomplished included the following: the Grand Jury hereby
repeats, re-alleges, and incorporates by reference paragraphs 1
through 8 of this Indictment as if fully set forth herein.

C. OVERT ACTS

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31. In furtherance of the conspiracy and to accomplish its
object, on or about the following dates, defendants ARMAN
GRIGORYAN, LIANNA OVSEPIAN, JOHNSON, NURISTA GRIGORYAN, LIM,
ARTAK OVSEPIAN, HOVANNISYAN, HARUTYUNYAN, TAMAZYAN, GHUKASYAN,

YEGHIAZARYAN, KHOU, NUNE OVSEPYAN, MENDEZ, JONES, SMITH, VO, and

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WASHINGTON, together with unnamed co-conspirators and others»
known and unknown to the Grand Jury, committed and willfully
caused others to commit the following overt acts, among others,
within the Central District of California, and elsewhere:
DEFENDANT ARMAN GRIGORYAN

Overt Act No. l: On August 12, 2010, defendant ARMAN
GRIGORYAN collected a bag of pharmaceuticals, including Psych
Meds, from defendant HARUTYUNYAN.

Overt Act No. 2: On April 15, 2010, defendant ARMAN
GRIGORYAN recruited beneficiaries to fill Manor Prescriptions and
drove recruited beneficiaries to Huntington to fill Manor
Prescriptions.

Overt ACt NO. 3: On May 29, 2010, defendant ARMAN
GRIGORYAN drove recruited beneficiaries to Huntington to fill
Manor Prescriptions.

DEFENDANT LIANNA OVSEPIAN

Overt Act No. 4: On September 29, 2010, defendant
LIANNA OVSEPIAN contacted and spoke with an auditor employed by
Medicare PDP Prescription Solutions Inc. (“PSI”) regarding an
audit conducted by PSI of Manor Prescriptions filled by
Huntington.

Overt Act No. 5: On January 24, 2011, defendant LIANNA
OVSEPIAN contacted R.T., the owner of Sunny Bay Pharmacy, to
recruit R.T.’s assistance in filling Manor Prescriptions.

Overt Act No. 6: On February 8, 2011, defendant LIANNA
OVSEPIAN met with an undercover agent posing as an employee of
Sunny Bay Pharmacy to discuss recruiting Sunny Bay Pharmacy to-

fill Manor Prescriptions.

 

 

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Overt Act No. 7: On May 19, 2011, defendant LIANNA
OVSEPIAN held a meeting with defendants GHUKASYAN, HARUTYUNYAN,
and ARTAK OVSEPIAN at Manor.

Overt Act No. 8: On September 13, 2011, at Manor,
defendant LIANNA OVSEPIAN assisted defendants HARUTYUNYAN and
HOVANNISYAN in burning pharmacy bags and other materials.

DEFENDANT JOHNSON

Overt Act No. 9: On November 3, 2010, defendant
JOHNSON contacted and spoke with a PSI auditor regarding an audit

of Manor Prescriptions filled by Huntington.

Overt Act No. 10: On February 8, 2011, defendant
JOHNSON met with an undercover agent posing as an employee of
Sunny Bay Pharmacy to discuss recruiting Sunny Bay Pharmacy to
fill Manor Prescriptions.

DEFENDANT NURISTA GRIGORYAN

Overt Act No. 11: On October 25, 2011, defendant
NURISTA GRIGORYAN completed patient medical records while seated
in her car parked at Manor.

DEFENDANTS LIM and KHOU

Overt Act No. 12: On August 6, 20l0, defendant KHOU
transferred $165,000 in funds received by Huntington from

Medi=Cal for billings of Manor Prescriptions to the TD Ameritrade

Account.
0vert Act No. 13: 0n September 6, 2010, defendant LIM
transferred $67,000 in funds received by Huntington from Medi-Cal
for billings of Manor Prescriptions to the TD Ameritrade Account.
Overt Act No. 14: In October 2010, defendant LIM

provided a PSI auditor with statements purportedly signed by 16

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beneficiaries, which falsely asserted that the beneficiaries
retracted prior complaints to PSI that Manor Prescriptions were
being fraudulently filled using their Medicare benefits without

their knowledge or authorization.

Overt Act No. 15: On September 21, 2010, defendant LIM
spoke with an auditor from the California Department of Health
`Care Services (“DHCS”) regarding an audit conducted by DHCS of
Manor Prescriptions filled by Huntington.

DEFENDANT ARTAK OVSEPIAN

Overt Act No. 16: On September 20, 2010, defendant
ARTAK OVSEPIAN drove recruited beneficiaries to Pacific Grand to

fill Manor Prescriptions.

Overt Act No. 17: On September 21, 2010, defendant
ARTAK OVSEPIAN drove recruited beneficiaries to Pacific Grand to

fill Manor Prescriptions.

Overt Act No. 18: On January 24, 2011, defendant ARTAK
OVSEPIAN traveled with defendant LIANNA OVSEPIAN to Sunny Bay
Pharmacy to contact R.T. and recruit R.T.'s assistance in filling

Manor Prescriptions.

Overt Act No. 19: On January 25, 2011, defendant ARTAK
OVSEPIAN drove a recruited beneficiary to Sunny Bay Pharmacy to

fill Manor Prescriptions:

Overt Act No. 20: On January 26, 2011, defendant ARTAK
OVSEPIAN drove recruited beneficiaries to Sunny Bay Pharmacy to

fill Manor Prescriptions.

Overt Act No. 21: On May 19, 2011, defendant ARTAK
OVSEPIAN drove recruited beneficiaries to Midway Drugs to fill
Manor Prescriptions.

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Overt ACt NO. 22: On May 25, 2011, defendant ARTAK
OVSEPIAN drove recruited beneficiaries to Midway Drugs to fill

Manor Prescriptions.

Overt Act No. 23: On June 14, 2011, defendant ARTAK
OVSEPIAN drove recruited beneficiaries to a pharmacy to fill

Manor Prescriptions.

Overt Act No. 24: On July 19, 2011, defendant ARTAK

OVSEPIAN assisted in loading recruited beneficiaries into vans at

MG.HOI` .

_Overt ACt NO. 25: On July 20, 2011, defendant ARTAK
OVSEPIAN drove recruited beneficiaries to Merced Medical to fill

Manor Prescriptions.

Overt Act No. 26: On September 21, 2011, defendant
ARTAK OVSEPIAN assisted in loading recruited beneficiaries into

vans at Manor.
DEFENDANTS HOVANNISYAN, HARUTYUNYAN, and GHUKASYAN
Overt Act No. 27: On August 12, 2010, defendants

HARUTYUNYAN drove recruited beneficiaries to Huntington to fill

Manor Prescriptions.

Overt Act No. 28: On January 11, 2011, defendant
HOVANNISYAN drove recruited beneficiaries to Midway Drugs to fill

Manor Prescriptions.

overt Act No. 29= On May 19, 2011, defendants
HARUTYUNYAN and GHUKASYAN followed an investigating agent who had
been conducting surveillance of Manor.

Overt Act No. 30: On May 19, 2011, defendants
HOVANNISYAN and GHUKASYAN inspected cars parked near Manor to

detect the presence of law enforcement surveillance of Manor.

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Overt Act No. 31: On May 19, 2011, defendants
HOVANNISYAN and GHUKASYAN loaded beneficiaries into vans and

drove the recruited beneficiaries to Midway Drugs to fill Manor

Prescriptions.

Overt Act No. 32: 0n July 20, 2011, defendants
HOVANNISYAN and HARUTYUNYAN drove recruited beneficiaries to
Merced Medical to fill Manor Prescriptions.

DEFENDANTS TAMAZYAN and NUNE OVSEPIAN

Overt Act No. 33: On February 11, 2011, defendants
TAMAZYAN and NUNE OVSEPIAN possessed approximately 300 documents
bearing xerox copies of beneficiaries' identification and
government health insurance cards.

DEFENDANT YEGHIAZARYAN

Overt Act No. 34: On September 20, 2011, defendant
YEGHIAZARYAN drove recruited beneficiaries to Merced Medical to

fill Manor Prescriptions.

Overt Act No. 35: On September 21, 2011, defendant
YEGHIAZARYAN drove recruited beneficiaries to a pharmacy to fill

Manor Prescriptions.
DEFENDANTS MENDEZ and JONES

Overt Act No. 36: On September 20, 2010, defendant
MENDEZ assisted in driving recruited beneficiaries to Pacific

Grand to fill Manor Prescriptions.

Overt Act No. 37: On May 19, 2011, defendant MENDEZ

took recruited beneficiaries to Manor.

Overt Act No. 38: On July 19, 2011, defendants MENDEZ

and JONES brought recruited beneficiaries to Manor.

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0vert Act No. 39: On July 20, 2011, defendants MENDEZ
and JONES met with recruited beneficiaries at Manor.

Overt Act No. 40: On September 20, 2011, defendants~
MENDEZ and JONES met with recruited beneficiaries at Manor.

Overt Act No. 41: On September 21, 2011, defendants
MENDEZ and JONES met with recruited beneficiaries at Manor.

DEFENDANT SMITH
Overt Act No. 42: On May 19, 2011, defendant SMITH met
with beneficiaries at Manor.

DEFENDANT VO

Overt Act No. 43; In March 2010, defendant VO took
recruited beneficiaries to Manor.

DEFENDANT WASHINGTON

Overt Act No. 44: On May 29, 2010, defendant

WASHINGTON recruited beneficiaries to fill Manor Prescriptions.

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COUNT TWO
[18 U.S.C. § 1028(f)]

A. OBJECT OF THE CONSPIRACY

32. Beginning on a date unknown, and continuing through on
or about October 27, 2011, in Los Angeles County, within the
Central District of California, and elsewhere, defendants ARMAN
GRIGORYAN, LIANNA OVSEPIAN, also known as (“aka”) “Lili,” KENNETH
WAYNE JOHNSON (“JOHNSON”), NURISTA GRIGORYAN, aka “Nora,” PHIC
LIM, aka “PK” (“LIM”), ARTAK OVSEPIAN, EDGAR HOVANNISYAN
(“HOVANNISY ”), ARTUR HARUTYUNYAN (“HARUTYUNYAN”), SAMVEL
TAMAZYAN (“TAMAZYAN”), MIKAYEL GHUKASYAN (“GHUKASYAN”), ARTYOM
YEGHIAZARYAN (“YEGHI`ZARYAN”), THEANA KHOU (“KHOU”), NUNE
OVSEPYAN, LISA DANIELLE MENDEZ, aka “Danielle” (“MENDEZ”),
ANTHONY GLEN JONES (“JONES”), DAVID SMITH, aka “Green Eyes”
(“SMITH”), VINCENT VO, aka “Minh” (“VO”), and RICHARD BOND
WASHINGTON (“WASHINGTON”), together with others known and unknown
to the Grand Jury, conspired and agreed with each other to
knowingly and intentionally possess with intent to use unlawfully
and transfer unlawfully at least five identification documents

and authentication features, in violation of Title 18, United

 

States Code, Sections 1028(a)(3), (b)(l)(A)(i).
B. MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE
ACCOMPLISHED

33. The means by which the object of the conspiracy was to
be accomplished included the following:

34-41. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 8 of this
Indictment as if fully set forth herein.

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C. OVERT ACTS

42. In furtherance of the conspiracy and to accomplish its
object, on or about following dates, defendants ARMAN GRIGORYAN,
LIANNA OVSEPIAN, JOHNSON, NURISTA GRIGORYAN, LIM, ARTAK OVSEPIAN,
HOVANNISYAN, HARUTYUNYAN, TAMAZYAN, GHUKASYAN, YEGHIAZARYAN,
KHOU, NUNE OVSEPYAN, MENDEZ, JONES, SMITH, VO, and WASHINGTON,
together with others known and unknown to the Grand Jury,
committed and willfully caused others to commit the following
overt acts, among others, within the Central District of
California and elsewhere,

43. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference Overt Acts 1 through 44 of Count one of

this Indictment as if fully set forth herein.

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coUNT THREE
ns U.s.c. §§ 1023<&)<3), (b) <1)<1)<1), 2<a)1

44. On or about February 16, 2011, in Los Angeles County,
within the Central District of California, defendants SAMVEL
TAMAZYAN (“TAMAZY ”) and NUNE OVSEPIAN (“OVSEPIAN”), each aiding
and abetting the other, knowingly possessed with intent to use
unlawfully and transfer unlawfully at least five identification
documents not issued lawfully for the use of either defendant
TAMAZYAN or OVSEPIAN, authentication features, and false
identification documents, namely, health insurance identification
cards and health insurance account numbers, including
identification documents, authentication features, and false
identification documents which were issued and which appeared to

have been issued by and under the authority of the United States.

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COUNT FOUR
[18 U.S.C. §§ 1028A, 2(a)]

45. On or about February 16, 2011, in Los Angeles County,
within the Central District of California, and elsewhere,
defendants SAMVEL TAMAZYAN and NUNE OVSEPIAN, each aiding and
abetting the other, knowingly transferred, possessed, and used,
without lawful authority, a means of identification of another
person, that is, the names and unique government-issued public
health care identification numbers of N.P., J.M., and A.T.,
during and in relation to a felony violation of Title 18, United
States Code, Section 1028(a)(3) (Possession of At Least Five
Identification Documents and Authentication Features With Intent

to Use Unlawfully) as charged in Count Three of this Indictment.

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COUNT FIVE
[18 U.S.C. §§ 1028A, 2]

46. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 8 of this
Indictment as if set forth herein.

47. Beginning on a date unknown, and continuing through on
or about October 27, 2011, in Los Angeles County, within the
Central District of California, and elsewhere, defendants ARMAN
GRIGORYAN, LIANNA OVSEPIAN, JOHNSON, NURISTA GRIGORYAN, LIM,
ARTAK OVSEPIAN, HOVANNISYAN, HARUTYUNYAN, TAMAZYAN, GHUKASYAN,
YEGHIAZARYAN, KHOU, NUNE OVSEPYAN, MENDEZ, JONES, SMITH, VO, and
WASHINGTON, each aiding and abetting the others, knowingly
transferred, possessed, and used, and caused to be transferred,
possessed, and used, without lawful authority, a means of
identification of another person, that is, the names and unique
government-issued public health care identification numbers of
H.T., A.V., M.V., R.E., R.R.y Q.T., E.P., S.M., E.R., T.D., and
J.H., during and in relation to a felony violation of Title 18,
United States Code, Section 1349, Conspiracy to Commit Health

Care Fraud, as charged in Count One of this Indictment.

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COUNT SIX
[18 U.S;C. § 371, 21 U.S.C. § 331(k)]

48. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 8 of this
Indictment as if set forth herein.

A. OBJECT OF THE CONSPIRACY

49. Beginning on a date unknown to the Grand Jury, and
continuing to on or about October 27, 2011, in Los Angelesy
County, within the Central District of California, and elsewhere,
defendants ARMAN GRIGORYAN, LIANNA OVSEPIAN, JOHNSON, NURISTA
GRIGORYAN, LIM, ARTAK OVSEPIAN, HOVANNISYAN, HARUTYUNYAN,
TAMAZYAN, GHUKASYAN, YEGHIAZARYAN, KHOU, and NUNE OVSEPYAN,
together with others known and unknown to the Grand Jury,
conspired and agreed with each other to knowingly and
.intentionally commit Misbranding of Pharmaceutical Drugs, in
violation of Title 21, United States Code, Section 331(k).

B. `MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

ACCOMPLISHED

50. The means by which the object of the conspiracy was to
be accomplished included the following:

51-58. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 8 of this
Indictment as if fully set forth herein.

C. OVERT ACTS

59. In furtherance of the conspiracy and to accomplish its
object, on or about following dates, defendants ARMAN GRIGORYAN,
LIANNA OVSEPIAN, JOHNSON, NURISTA GRIGORYAN, LIM, ARTAK OVSEPIAN,

HOVANNISYAN, HARUTYUNYAN, TAMAZYAN, GHUKASYAN, YEGHIAZARYAN,

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KHOU, and NUNE OVSEPYAN, together with unnamed co-conspirators
and others known and unknown to the Grand Jury, committed and
willfully caused others to commit the following overt acts, among
others, within the Central District of California and elsewhere,
60. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference Overt Acts 1 through 35 of Count One as

if fully set forth herein.

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COUNT SEVEN
[18 U.S.C. § 1956(h)]

61. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 9 of this
Indictment as if set forth herein.

A. OBJECTS OF THE CONSPIRACY

62. Beginning on an unknown date, and continuing through on
or about October 27, 2011, in Los Angeles County, within the
Central District of California, and elsewhere, defendants LIM and
KHOU, and others known and unknown to the Grand Jury, conspired
and agreed with each other to knowingly and intentionally commit
the following offenses against the United States:

a. conducting financial transactions affecting
interstate commerce knowing that property involved in the
financial transactions represented the proceeds of some form of
unlawful activity, and which property, in fact, involved the
proceeds of specified unlawful activity, that is, health care
fraud, in violation of Title 18, United States Code, Section
1349, and knowing that the transactions were designed in whole
and in part to conceal and disguise the nature, the location, the
source, the ownership, and the control of the proceeds of such
specified unlawful activity, in violation of Title 18, United
States Code, Section 1956(a)(1)(B)(i);

b. knowingly engaging and attempting to engage in
monetary transactions in criminally derived property of a value
greater than $10,000, that is, proceeds from health care fraud,
knowing that the funds involved represented the proceeds of some

form of unlawful activity, in violation of Title 18, United

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States Code, Section 1957(a).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE
ACCOMPLISHED
63. The objects of the conspiracy were to be accomplished
in substance as follows:

a. Defendants LIM and KHOU would receive Medi-Cal
check payments from the State of California as a result of the
health care fraud conspiracy set forth in Count One above.

b. Defendants LIM and KHOU would deposit, and cause to
be deposited, checks consisting of proceeds derived from the
health care fraud conspiracy set forth in Count One above into
the East West Account and into Chase Account 1.

c. Defendants LIM and KHOU would transfer, and cause
to be transferred, proceeds from the East West Account to the TD
Ameritrade Account.

d. Defendants LIM and KHOU would transfer, and cause
to be transferred, proceeds from Chase Account l to HSBC
ACCount 1.

C. OVERT ACTS

64. In furtherance of the conspiracy and to accomplish its
objects, on or about the following dates, defendants LIM and
KHOU, together with others known and unknown to the Grand Jury,
committed, and willfully caused to be committed, various overt
acts within the Central District of California, and elsewhere,
including but not limited to the following:

MOVEMENT OF THE CRIMINALLY DERIVED PROCEEDS FROM EAST WEST

ACCOUNT 1 TO THE TD AMERITRADE ACCOUNT

Overt Act No. 1: On April 22, 2010, defendants LIM and

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KHOU deposited into the East West Account a check from Medi-Cal
in the amount of $44,733.03, of which $41,963.89 was issued for
reimbursement based on claims for Manor Prescriptions.

Overt Act No. 2: On June 4, 2010, defendants LIM and
KHOU deposited into the East West Account a check from Medi-Cal
in the amount of $39,914.54, of which $34,524.96 was issued for

reimbursement based on claims for Manor Prescriptions.
Overt Act No. 3: On August 6, 2010, defendants LIM and
KHOU transferred $165,000 from the East West Account by writing a

check to defendant KHOU “for deposit only” to the TD Ameritrade

Account.

Overt Act No. 4: On August 26, 2010, defendants LIM
and KHOU deposited into the East West Account a check from Medi-
Cal in the amount of $67,152.41, of which $63,845.95 was issued
for reimbursement based on claims for Manor Prescriptions.

Overt Act No. 5: On September 6, 2010, defendants LIM
and KHOU transferred $67,000 from the East West Account by
writing a check to defendant LIM “for deposit only” to the TD

Ameritrade Account.

MOVEMENT OF THE CRIMINALLY DERIVED PROCEEDS FROM CHASE>

ACCOUNT 1 TO HSBC ACCOUNT 1

Overt Act No. 6: On February 25, 2010, defendants LIM
and KHOU deposited into Chase Account 1 a check from Medi-Cal in
the amount of $75,486.57, of which $74,026.66 was issued for
reimbursement based on claims for Manor Prescriptions.

Overt Act No. 7: On March 1, 2010, defendants LIM and
KHOU transferred $80,000 from Chase Account l to HSBC Account 1.

Overt Act No. 8: On March 18, 2010, defendants LIM and

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KHOU deposited into Chase Account 1 a check from Medi-Cal in the
amount of $59,728.78, of which $50,575.96 was issued for

reimbursement based on claims for Manor Prescriptions.

Overt Act No. 9: On March 22, 2010, defendants LIM and
KHOU transferred $60,000 from Chase Account 1 to HSBC Account 1.

Overt Act No. 10:_ On April 8, 2010, defendants LIM and
KHOU deposited into Chase Account 1 a check from Medi-Cal in the
amount of $63,217.98, of which $61,428.49 was issued for
reimbursement based on claims for Manor Prescriptions.

Overt Act No. 11: On April 14, 2010, defendants LIM

and KHOU transferred $130,000 from Chase Account 1 to HSBC

ACCOunt 1.

Overt Act No. 12: On May 6, 2010, defendants LIM and
KHOU deposited into Chase Account 1 a check from Medi-Cal in the
amount of $76,146.78, of which $73,055.06 was issued for
reimbursement based on claims for Manor Prescriptions.

Overt Act No. 13: On May 12, 2010, defendants LIM and
KHOU transferred $70,000 from Chase Account 1 to HSBC Account 1.

Overt Act No. 14: 0n June 17, 2010, defendants LIM and
KHOU deposited into Chase Account 1 a check from Medi-Cal in the
amount of $23,174.10, of which $22,008.07 was issued for
reimbursement based on claims for Manor Prescriptions.

Overt Act No. 15: On June 21, 2010, defendants LIM and
KHOU transferred $50,000 from Chase Account 1 to HSBC Account 1.

Overt Act No. 16: on July l, 2010, defendants LIM and
KHOU deposited into Chase Account 1 a check from Medi-Cal in the
amount of $105,801.90, of which $98,890.03 was issued for

reimbursement based on claims for Manor Prescriptions.

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Overt Act No. 17: On July 19, 2010, defendants LIM and
KHOU transferred $100,000 from Chase Account 1 to HSBC Account 1.

Overt Act No. 18: On August 19, 2010, defendants LIM
and KHOU deposited into Chase Account 1 a check from Medi-Cal in
the amount of $94,645.12, of which $94,396.62 was issued for
reimbursement based on claims for Manor Prescriptions.

Overt Act No. 19: On August 23, 2010, defendants LIM

and KHOU transferred $30,000 from Chase Account 1 to HSBC Account

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coUNTs EIGHT through sIXTEEN
[18 U.s.c. §§ 1956(a)(1)(B)(i), 2]

65. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs l through 9 of this
Indictment as if set forth herein.

66. On or about the following dates, in Los Angeles County,
within the Central District of California, and elsewhere,
defendants LIM and KHOU, each aiding and abetting the other,
knowing that the property involved in each of the financial
transactions described below represented the proceeds of some
form of unlawful activity, conducted, and willfully caused others
to conduct, the following financial transactions affecting
interstate commerce, which transactions, in fact, involved the
proceeds of specified unlawful activity, namely, health care
fraud, in violation of Title 18, United States Code, Section
1347, knowing that each of the transactions was designed in whole
and in part to conceal and disguise the nature, the location, the
source, the ownership, and the control of the.proceeds of said

specified unlawful activity:

 

COUNT DATE FINANCIAL TRANSACTION

 

EIGHT 3/1/2010 Transfer of $80,000 from Chase
Account 1 to HSBC Account 1

 

NINE 3/22/2010 Transfer of $60,000 from Chase
Account 1 to HSBC Account 1

 

TEN 4/14/2010 Transfer of $130,000 from Chase
Account 1 to HSBC Account 1

 

ELEVEN 5/12/2010 Transfer of $70,000 from Chase Account
1 to HSBC Account 1

 

TWELVE 6/21/2010 Transfer of $50,000 from Chase Account
1 to HSBC Account 1

 

 

 

 

 

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THIRTEEN

7/19/2010

Transfer of $100,000 from Chase
Account 1 to HSBC Account 1

 

FOURTEEN

8/6/2010

Transfer of $165,000 from the East
West Account to the TD Ameritrade
Account

 

FIFTEEN

8/23/2010

Transfer of $30,000 from Chase Account
1 to HSBC Account 1

 

SIXTEEN

 

 

9/6/2010

 

Transfer of $67,000 from the East West
Account to the TD Ameritrade Account

 

 

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COUNTS SEVENTEEN through TWENTY-THREE
[18 U.S.C. §§ 1957(a), 2]

67. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 9 of this
Indictment as if set forth herein.

68. On or about the following dates, in Los Angeles County,
within the Central District of California, and elsewhere,
defendants LIM and KHOU, each aiding and abetting the other,
knowing that the funds involved represented the proceeds of some
form of unlawful activity, conducted, and willfully caused others
to conduct, the following monetary transactions in criminally
derived property of a value greater than $10,000, which property,
in fact, was derived from specified unlawful activity, namely,

health care fraud, in violation of Title 18, United States Code,

Section 1347:

 

 

 

 

 

 

COUNT DATE MONETARY TRANSACTION
SEVENTEEN 4/22/2010 Deposit of check for $44,733.03 into
y the East West Account

EIGHTEEN 6/4/2010 Deposit of check for $39,914.54 into
the East West Account

NINETEEN 8/6/2010 Transfer of $165,000 from the East
West Account to the TD Ameritrade
Account

TWENTY 8/26/2010 Deposit of check for $67,152.41 into

the East West Account

 

TWENTY-ONE 9/6/2010 Transfer of $67,000 from the East West
Account to the TD Ameritrade Account

 

TWENTY-TWO 7/1/2010 Deposit of check for $105,801.90 into
Chase Account 1

 

TWENTY~THREE 8/19/2010 Deposit of check for $94,645.12 into
Chase Account 1

 

 

 

 

 

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69.

COUNTS TWENTY-FOUR through THIRTY-FIVE

[31 U.S.C.

§§ 5324(a)(3),

(d)(2); 18 U.S.C. § 2]

The Grand Jury hereby repeats, re-alleges, and

incorporates by reference paragraphs 1 through 9 of this

Indictment as if set forth herein.

70.

within the Central District of California,

defendants LIM and KHOU,

On or about the following dates,

in Los Angeles County,
and elsewhere,

each aiding and abetting the other,

knowingly, and for the purpose of evading the reporting

requirements of Section 5313(a) of Title 31, United States Code,

and the regulations promulgated thereunder, structured, assisted

in structuring, and caused to be structured, the following

transactions with domestic financial institutions,

as part of a

pattern of illegal activity involving more than $100,000 in a

12~month period, and while violating another law of the United

 

 

 

 

 

 

 

States:

COUNT DATE TRANSACTION

TWENTY- 8/4/2009 Cash deposits in the amounts of $1,662 and

FOUR $9,000 into Chase Account 1.

TWENTY- 8/5/2009 Cash deposits in the amounts of $2,377 and

FIVE $8,000 into Chase Account 1.

TWENTY- 8/6/2009 Cash deposits in the amounts of $2,000,

SIX $2,726, and $8,000 into Chase Account 1.

TWENTY- 9/8/2009 Cash deposits in the following amounts:

SEVEN $3,741 and S9,000 into Chase Account 1;
$9,000 into Chase Account 2; and $7,000
into Chase Account 3.

TWENTY- 9/24/2009 Cash deposits in the amounts of $9,000

EIGHT ` into Chase Account 1 and $9,000 into Chase
Account 2.

TWENTY- 9/25/2009 Cash deposit in the amount of $9,000 into

NINE Chase Account 1. »

 

 

 

 

 

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THIRTY 9/28/2009 Cash deposits in the amounts of $5,000,
$4,320, $4,000, and $1,609 into Chase
Account 1, and $9,000 into Chase Account
2.

THIRTY- 9/29/2009 Cash deposits in the amounts of $1,509,

ONE $4,000, $4,320, and $5,000 into Chase
Account 1, and $9,000 into Chase Account
3.

THIRTY- 10/13/2009 Cash deposit in the amount of $9,000 into_

TWO HSBC Account 1.

THIRTY-r 10/14/2009 Cash deposit in the amount of $9,000 into

THREE .HSBC Account 1.

THIRTY- 10/15/2009 Cash deposit in the amount of $9,000 into

FOUR HSBC Account l.

THIRTY- 10/16/2009 Cash deposit in the amount of $9,800 into

FIVE HSBC Account 1.

 

 

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COUNT THIRTY-SIX
[18 U.S.C. § 1001(a)(2)]

71. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 8 of this
Indictment as if set forth herein.

72. On or about October 27, 2011, in Los Angeles County,
within the Central District of California, in a matter within the
jurisdiction of the executive branch of the government of the
United States, specifically, the United States Department of
Health and Human Services, the United States Food and Drug
Administration, and the United States Marshal's Service,
defendant LIANNA OVSEPIAN knowingly and willfully made a
materially false, fictitious, and fraudulent statement and
representation, in that defendant LIANNA OVSEPIAN stated that she
could not recognize a photograph of defendant LIM, that she did
not recognize defendant LIM's name, that she was not familiar
with Huntington Pharmacy, and that she does not recruit
pharmacies to conduct business with Manor, when, in truth and in
fact, as defendant LIANNA OVSEPIAN then well knew, defendant
LIANNA OVSEPIAN knew defendant LIM, conducted business with
defendant LIM and Huntington Pharmacy through her employment with

Manor, and had recruited pharmacies to conduct business with

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COUNT THIRTY-SEVEN
[18 U.S.C. § 1001(a)(2)]

73. The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 8 of this
Indictment as if set forth herein.

74. On or about October 27, 2011, in Los Angeles County,
within the Central District of California; in a matter within the
jurisdiction of the executive branch of the government of the
United States, specifically, the United States Department of
Health and Human Services, the United States Food and Drug
Administration, and the United States Marshal’s Service,
defendant NURISTA GRIGORYAN knowingly and willfully made a
materially false, fictitious, and fraudulent statement and
representation, knowing the same to be a materially false,
fictitious, and fraudulent statement, in that defendant NURISTA
GRIGORYAN stated that defendant JOHNSON worked at Manor four
times per week, when, in truth and in fact, as defendant NURISTA

GRIGORYAN then well knew, defendant JOHNSON did not work at Manor

four times per week.

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COUNT THIRTY-EIGHT
[18 U.S.C. § 1001(a)(2)]

75; The Grand Jury hereby repeats, re-alleges, and
incorporates by reference paragraphs 1 through 8 of this
Indictment as if set forth herein.

76. On or about October 27, 2011, in Los Angeles County,
within the Central District of California, in'a matter within the
jurisdiction of the executive branch of the government of the
United States, specifically, the United States Department of
Health and Human Services, the United States Food and Drug
Administration, and the United States Marshal's Service,
defendant ARTAK OVSEPIAN knowingly and willfully made a
materially false, fictitious, and fraudulent statement, in that
defendant ARTAK OVSEPIAN stated that he had driven patients from
Manor to pharmacies on only one or two occasions when, in truth
and in fact, as defendant ARTAK OVSEPIAN then well knew,
defendant ARTAK OVSEPIAN had driven patients from Manor to
pharmacies on multiple occasions, including at least eight
occasions between September 2010 and September 2011, and
defendant ARTAK OVSEPIAN had assisted in the transportation of

patients from Manor to pharmacies on at least two other

occasions,

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FORFEITURE ALLEGATION 1
[28 U.S.C. § 2461(C); 18 U.S.C. § 981(a)(1)(C);
and 18 U.S.C. §§ 1347 and 1349]

1. Pursuant to Title 28, United States Code, Section
2461(c); Title 18, United States Code, Section 981(a)(1)(C); and
Title 18, United States Code, Sections 1347 and 1349, each
defendant convicted of an offense charged in Counts One through
Four and\Six of this Indictment shall forfeit to the United
States the following property:

a. All right, title, and interest in any and all
property, real or personal, which constitutes or is derived from
proceeds traceable to each such offense, including but not
limited to the real property located in Pasadena owned by PHIC K.
LIM AND THEANA S. KHOU, TRUSTEES, OR THEIR SUCCESSORS UNDER THE
PHIC. K. LIM AND THEANA S. KHGU TRUSTH

b. A sum of money equal to the total amount of
proceeds derived from each such offense for which said defendant
is convicted. If more than one defendant is convicted of an
offense, the defendants so convicted are jointly and severally
liable for the amount involved in such offense.

2. Pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 28, United States Code, Section
2461(c), each defendant so convicted shall forfeit substitute
property, up to the total value of the property described in
paragraph 2, if, by any act or omission of the defendant, the

property described in paragraph 1, or any portion thereof, (a)

 

l The referenced property is a residence and the street

address has been redacted pursuant to Local Rule 79-5.4(e).

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cannot be located upon the exercise of due diligence; (b) has
been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court; (d) has
been substantially diminished in value; or (e) has been

commingled with other property that cannot be divided without

difficulty.

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FORFEITURE ALLEGATION 2
[18 U.s.c. § 982(a) (1)]

1. Pursuant to Title 18, United States Code, Section
982(a)(1), each defendant convicted of an offense charged in
Counts Seven through Twenty-Three of this Indictment shall
forfeit to the United States the following property:

a. Any and all property, real or personal, involved
in such offense, and all property traceable to such offense,
including but not limited to the real property located in
Pasadena owned by PHIC K. LIM AND THEANA S. KHOU, TRUSTEES, OR
THEIR SUCCESSORS UNDER THE PHIC. K. LIM AND THEANA S. KHOU TRUST.

b. A sum of money equal to the total amount of money
involved in the offense for which the defendant is convicted. If
more than one defendant is convicted of an offense, the
defendants so convicted are jointly and severally liable for the
amount involved in such offense.

2. Pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 18, United States Code, Section
982(b), each defendant so convicted shall forfeit substitute
property, up to the value of the amount described in paragraph 1,
if, by any act or omission of said defendant, the property_
described in paragraph 1, or any portion thereof, cannot be
located upon the exercise of due diligence; has been transferred,
sold to, or deposited with a third party; has been placed beyond
the jurisdiction of this court; has been substantially diminished
in value; or has been commingled with other property that cannot

be divided without difficulty.

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FORFEITURE ALLEGATION 3
[31 U.s.c. § 5317(c) (1)]

1. Pursuant to Title 31, United States Code, Section
3517(c)(1), each defendant convicted of an offense charged in
Counts Twenty-Four through Thirty-Five of this Indictment shall
forfeit to the United States all right, title, and interest in
any and all property, real or personal, involved in the offense
and any property traceable thereto. If the above-described
property is unavailable; defendants shall forfeit a sum of money
equal to the total amount of money involved in the offenses for
which the defendant is convicted. If more than one defendant is
convicted of an offense, the defendants so convicted are jointly
and severally liable for the amount involved in such offense.

2. Pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 31, United States Code, Section
5317(c)(1)(B),,each defendant so convicted shall forfeit
substitute property, up to the value of the amount described in
paragraph 1, if, by any act or omission of said defendant, the
property described in paragraph 1, or any portion thereof, cannot
be located upon the exercise of due diligence; has been

transferred, sold to, or deposited with a third party; has been

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placed beyond the jurisdiction of this court; has been
substantially diminished in value; or has been commingled with

other property that cannot be divided without difficulty.

A TRUE BILL

/6/

Foreperson

ANDRE BIROTTE JR.
United States Attorney _

tjx 8 D )»M’WM/

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